     Case 1:20-cr-00183-RJJ ECF No. 407, PageID.2828 Filed 01/14/22 Page 1 of 5




                       THE UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION
                         ___________________________________

THE UNITED STATES OF AMERICA,
                                                        Case No. 1:20-CR-183
               Plaintiff,
                                                        Hon. Robert J. Jonker
v.                                                      Chief U.S. District Court Judge

KALEB FRANKS,

               Defendant.


 DEFENDANT’S MOTION TO ALLOW PRESENTATION OF EVIDENCE
  DEMONSTRATING GOVERNMENT’S “CONSCIOUSNESS-OF-GUILT”
WITH REGARD TO ITS USE OF ENTRAPMENT AND MEMO IN SUPPORT


         While this case boils toward trial, the country is in the midst of a critical

debate over the illegal and unethical use of confidential informants and undercover

investigative agents. On January 12, multiple news outlets ran stories about

Senator Ted Cruz’s demand that the FBI explain its use of undercover agents and

confidential informants in relation to the events of January 6, 2021. See, e.g.,

Amanda Prestigiacomo, “Journalist Glenn Greenwald Asks Four Questions About

Jan. 6 and the FBI,” Daily Wire (Jan. 12, 2021), available at https://www.dailywire.

com/news/journalist-glenn-greenwald-asks-four-questions-about-jan-6-and-the-fbi.

Mr. Franks does not want to bog this Court down with the accusations getting flung

across the media, the cries of “conspiracy theory” surrounding some of these

allegations, or the politics of these affairs. But the fact remains: legislators are
 Case 1:20-cr-00183-RJJ ECF No. 407, PageID.2829 Filed 01/14/22 Page 2 of 5




demanding accountability from the FBI . . . and getting no answers. The situation

smacks of the agency’s consciousness of overreaching.

      Given the overreaching already discussed in this case, Mr. Franks now asks

the Court to allow him to raise these wider, national concerns at trial. In the

alternative, he asks the Court to take these concerns into consideration and

consider the defense’s motion to dismiss against this backdrop, with the

jurisprudence of “objective” entrapment and due-process violations coming to the

forefront. See RE. 379: Motion to Dismiss, PageID # 2534 n.6; RE. 399: Def. Supp. to

Motion to Dismiss, PageID # 2789 n.4.

                                  Legal Discussion

      Federal Rule of Evidence 401 provides that relevant evidence is evidence that

has any tendency to make a fact of consequence more or less probable than the fact

would be without the evidence. Fed. R. Evid. 401. A national inquiry into FBI use of

confidential informants and undercover agents, and that agency’s representative’s

refusal to answer elected officials’ inquiries, certainly tends to make the issue of

government misuse of such informants and agents more likely.

      When the proverbial shoe is on the other proverbial foot, the government, of

course, is quite quick in crying, “consciousness of guilt.” Sixth Circuit Pattern

Criminal Jury Instruction 7.14 provides that evidence of “flight,” “concealment of

evidence,” or “false exculpatory statements” “may indicate that [the defendant]

thought he [or she] was guilty and was trying to avoid punishment.” The committee

commentary to the instruction posits that “[t]he fact that a defendant attempts to


                                           2
 Case 1:20-cr-00183-RJJ ECF No. 407, PageID.2830 Filed 01/14/22 Page 3 of 5




fabricate or conceal evidence indicates a consciousness that his case is weak and

from that the defendant’s guilt may be inferred.”

      The FBI has certainly concealed the details of its use of informants and

undercover agents in relation to the January 6 events and regarding its policies on

their use generally. (Counsel can appreciate the issues inherent in these public

discussions for a law-enforcement agency, but at this point in the game, it seems

fair to expect some sort of answer from the agency, given the gravity of the January

6 events and the national concern about law-enforcement overreaching.) Under the

jury instruction’s reasoning, and the committee’s analysis, the agency has exhibited

consciousness of guilt.

      With regard to how this consciousness fits into the defense’s motion to

dismiss, the issue of “objective” entrapment comes to the forefront. As the defense

has hit on a few times now, case law discusses two forms of entrapment and two

courses for defendants arguing in favor of a finding of entrapment as a matter of

law. See, e.g., RE. 379: Motion to Dismiss, PageID # 2534 n.6; RE. 399: Def. Supp. to

Motion to Dismiss, PageID # 2789 n.4. One involves the more prevalent position

that a defendant’s predisposition/lack of predisposition plays a role in the analysis.

See, e.g., United States v. Tucker, 28 F.3d 1420, 1422, 1424 (6th Cir. 1994); see also

McIntyre v. United States, 336 F. Supp. 2d 87, 116-17 & n.25 (D. Mass. 2004)

(discussing cases). Another looks solely to the government’s egregious conduct,

without regard to the defendant’s proclivities, implying that government conduct

can rise to such an outrageous level as to justify dismissal with or without a


                                           3
 Case 1:20-cr-00183-RJJ ECF No. 407, PageID.2831 Filed 01/14/22 Page 4 of 5




showing that the defendant was not predisposed to commit the offense at issue. See,

e.g., United States v. Tucker, 28 F.3d 1420, 1422, 1424 (6th Cir. 1994); see also

McIntyre v. United States, 336 F. Supp. 2d 87, 116-17 & n.25 (D. Mass. 2004)

(discussing cases).

      If national leaders are expressing concern about FBI overreaching in the

realm of informant use and deployment of undercover agents, this latter idea of

“objective” entrapment must assume a greater jurisprudential role.

                                     Conclusion

      Current national inquiries into FBI policy (on just the sort of overreaching

use of confidential informants and undercover agents at issue in this case), and the

agency’s refusal to address the issue, indicate a sort of government “consciousness

of guilt” with regard to egregious government investigative conduct, overreaching,

and entrapment. This consciousness is relevant to the specific entrapment issues

Mr. Franks will present at trial. Mr. Franks asks the Court to allow him to present

to the jury evidence related to these national inquiries. In the alternative, he asks

the Court to consider this evidence in the context of the defense’s motion to dismiss

and objective-entrapment arguments.

Date: January 14, 2022                  SCOTT GRAHAM PLLC


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                                              4
 Case 1:20-cr-00183-RJJ ECF No. 407, PageID.2832 Filed 01/14/22 Page 5 of 5




                       CERTIFICATE OF COMPLIANCE

      In accordance with Local Criminal Rule 47.2(b)(ii), counsel asserts that this

brief contains 847 words, as counted by Microsoft Word, version 16.56.



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